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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
            v.                            )                Criminal No. 21-cr-28 (APM)
                                          )
DONOVAN RAY CROWL, et al.,                )
                                          )
      Defendants.                         )
_________________________________________ )
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
            v.                            )                Criminal No. 22-cr-290 (APM)
                                          )
KELLYE SORELLE,                           )
                                          )
      Defendant.                          )
_________________________________________ )

                                    PRETRIAL ORDER

       Trial is set to commence in this matter on July 10, 2023, at 9:30 a.m., as to Defendants

Beeks, Crowl, and SoRelle. The following deadlines shall govern pretrial proceedings:

       1.     Defendants shall file any additional motions pursuant to Federal Rule of Criminal

              Procedure 12(b)(3)(A)–(D) on or before May 1, 2023; oppositions shall be filed on

              or before May 15, 2023; and replies shall be filed on or before May 22, 2023.

              Counsel shall appear on June 8, 2023, at 9:00 a.m., in Courtroom 10 for a hearing

              on Rule 12 pretrial motions, if necessary.

       2.     The United States shall make any required expert disclosures pursuant to

              Rule 16(a)(1)(G) by May 8, 2023; any reciprocal expert disclosure by Defendants

              shall be made by May 22, 2023.

       3.     The United States shall identify the evidence it will seek to introduce under

              Federal Rule of Evidence 404(b) on or before May 15, 2023.
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4.   Except as otherwise noted in this Pretrial Order, motions in limine shall be filed on

     or before May 22, 2023; oppositions shall be filed on or before June 5, 2023; and

     replies shall be filed on or before June 12, 2023. If the United States wishes to

     file a motion in limine with respect to any defense expert, it may do so by filing a

     motion by May 31, 2023; any opposition to such motion shall be filed by June 12,

     2023.

5.   Defendants shall satisfy their reciprocal discovery obligations, if any, under

     Rule 16(b) (except as to experts, as noted above) by May 8, 2023. The court will

     consider any motion in limine with respect to reciprocal discovery after such

     discovery is received. Any such motion shall be filed by May 15, 2023; any

     opposition to such motion shall be filed by May 22, 2023.

6.   On or before May 30, 2023, counsel shall file a draft Joint Juror Questionnaire.

     Qualified prospective jurors will appear on June 13, 2023, to answer the finalized

     version of this questionnaire. More details about the procedure for this process will

     follow closer in time.

7.   The United States should endeavor to make grand jury and Jencks Act disclosures

     as to each witness it expects to call in its case-in-chief on or before June 12, 2023.

     Any Brady material not already disclosed also must be disclosed by this date.

8.   On or before June 19, 2023, counsel shall file a Joint Pretrial Statement that

     contains the following:

             a. A neutral statement of the case. The parties shall include a neutral

                statement of the case for the court to read to seated jurors at the start of




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             preliminary instructions.

          b. Proposed jury instructions.     The parties shall submit a list of all

             standard jury instructions from the “Red Book” (Criminal Jury

             Instructions for D.C. (Barbara A. Bergman ed., May 2016 ed.)) that they

             wish to include in the final instructions. The parties need not submit

             the full text of any standard jury instruction, but should provide the full

             text of (1) any modified standard jury instruction, with the proposed

             modification(s) redlined, and (2) any non-standard jury instruction they

             wish to have the court include.         As to each non-standard jury

             instruction, the sponsoring party should cite legal authority for the

             proposed instruction, and the non-sponsoring party should state any

             objection to the instruction, including any proposed modifications.

          c. List of witnesses. The parties shall identify the witnesses that each side

             anticipates it may call in its case-in-chief. Only upon leave of court

             and a showing of good cause will a party be permitted to withhold a

             witness’s identity.

          d. Exhibit lists. The parties shall include an exhibit list that each side

             anticipates it may introduce in its case-in-chief. The parties need not

             list any exhibit that might be used for purposes of impeachment. The

             parties should confer with Courtroom Deputy Jean Claude Douyon

             about the format of the exhibit list. The parties should not provide a

             copy of the exhibits to the court, but must exchange pre-marked

             exhibits.   The parties must be prepared to raise objections to any

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                         proposed exhibit at the Pretrial Conference. The objecting party shall

                         bring three copies of any contested exhibit to the Pretrial Conference.

                      e. Stipulations. The parties shall submit a draft of all stipulations.

                      f. Proposed verdict form. The parties shall include a draft verdict form,

                         including any special interrogatories. The draft verdict form should

                         include a date and signature line for the jury foreperson.

      9.     In addition to filing the Joint Pretrial Statement on June 19, 2023, the parties shall

             transmit, in Word format, an electronic copy of (a) any proposed modification to a

             standard jury instruction, (b) any non-standard jury instruction, and (c) the verdict

             form by email to the Courtroom Deputy Jean Claude Douyon at Jean-

             Claude_Douyon@dcd.uscourts.gov.

      10.    Counsel shall appear on June 26, at 2:00 p.m., in Courtroom 10 for a Pretrial

             Conference.




                                                           Amit P. Mehta
Date: April 5, 2023                                 United States District Court Judge




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